           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                            1:09CR26-7

UNITED STATES OF AMERICA,                           )
                                                    )
Vs.                                                 )               ORDER
                                                    )
MARK TAYLOR LEWIS                                   )
__________________________________                  )

        THIS MATTER is before the court upon defendant’s pro se Motion for Copy

of Plea Agreement and for Clarification of Mandatory Sentencing.            Mr. Taylor

mailed such pleading directly to court chambers and did not certify that he had sent

a copy to either his attorney or the government, making such an ex parte (meaning

improper) communication with the court. Review of the docket reveals that Mr.

Taylor is represented by counsel. In accordance with Local Criminal Rule 47.1(H),

such request for judicial assistance by a represented party will be summarily denied.



                                     ORDER

        IT IS, THEREFORE, ORDERED that defendant’s pro se Motion for Copy

of Plea Agreement and for Clarification of Mandatory Sentencing (#209) is DENIED.




      Case 1:09-cr-00026-MR-WCM     Document 210        Filed 07/14/09   Page 1 of 2
                                Signed: July 14, 2009




Case 1:09-cr-00026-MR-WCM   Document 210    Filed 07/14/09   Page 2 of 2
